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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

RICK BUTLER and CHERYL BUTLER,                        )
individually, and GLV, INC, an                        )
Illinois Corporation,                                 )
                                                      )
                       Plaintiffs,                    )
v.                                                    )       Case No. 1:21-cv-06854
                                                      )
NANCY HOGSHEAD-MAKAR, an individual,                  )
CHAMPION WOMEN, a Florida not-for-profit              )
Corporation, SARAH POWERS-BARNHARD,                   )
an individual, and DEBORAH DIMATTEO, an               )
individual.                                           )
                                                      )
                       Defendants.                    )

           STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE
                AS TO DEFENDANT SARAH POWERS-BARNHARD

       Pursuant to F.R.C.P. 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiffs Rick

Butler, Cheryl Butler, and GLV, Inc., and Defendant Sarah Powers-Barnhard, through their

respective undersigned counsel, hereby give notice that the above-captioned action is voluntarily

dismissed, with prejudice, against Defendant Sarah Powers-Barnhard pursuant to a negotiated

settlement agreement, with each party to bear its own fees and costs.

       It is further stipulated and agreed that no further suit will be instituted for the same causes

of action which have been asserted herein, or for any other causes of action arising out of the

incidents or circumstances which gave rise to this lawsuit.



Date: March 22, 2022                                  D’Ambrose P.C.
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                                       By: /s/ Danielle D’Ambrose
                                           Danielle D’Ambrose


Date: March 14, 2022                        Vivek Jayaram
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                                       By: /s/ Elizabeth Austermuehle
                                           Elizabeth Austermuehle




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